         Case 2:19-cv-00008-JTA Document 105 Filed 08/24/20 Page 1 of 1




              IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

WALTER PETTAWAY, as administrator           )
of the Estate of Joseph Lee Pettaway,       )
deceased,                                   )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )   CASE NO. 2:19-cv-08-JTA
                                            )
NICHOLAS D. BARBER and                      )
MICHAEL D. GREEN,                          )
                                            )
              Defendants.                   )

                                        ORDER

       On today, the Court held oral argument on Plaintiff’s Motion for Entry of an

Amended Scheduling Order (Doc. No. 102) filed on August 20, 2020.                  Upon

consideration of the representations made by the parties during the oral argument and for

good cause, it is

       ORDERED that the motion for entry of an amended scheduling order (Doc. No.

102) is GRANTED. It is further

       ORDERED that on or before August 31, 2020, the parties shall file a joint Rule

26(f) report containing the proposed deadlines for the amended scheduling order.

       DONE, this 24th day of August, 2020.


                                  /s/ Jerusha T. Adams
                                  JERUSHA T. ADAMS
                                  UNITED STATES MAGISTRATE JUDGE
